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                                   No. 23-11138


             IN THE UNITED STATES COURT OF APPEALS
                     FOR THE FIFTH CIRCUIT


National Association for Gun Rights, Incorporated; Texas Gun Rights, Incorporated;
                   Patrick Carey; James Wheeler; Travis Speegle,

                                                Plaintiffs-Appellees,

                                          v.

Merrick Garland, U.S. Attorney General; United States Department of Justice; Steven
 Dettelbach, in his official capacity as Director of the Bureau of Alcohol, Tobacco,
 Firearms and Explosives; Bureau of Alcohol, Tobacco, Firearms, and Explosives,

                                                Defendants-Appellants.


                  On Appeal from the United States District Court
                         for the Northern District of Texas
            District Court Case No. 4:23-cv-830 (Hon. Reed O’Connor)


               SUPPLEMENTAL BRIEF FOR APPELLANTS


                                               BRIAN M. BOYNTON
                                                 Principal Deputy Assistant Attorney General
                                               LEIGHA SIMONTON
                                                 United States Attorney
                                               MARK B. STERN
                                               BRAD HINSHELWOOD
                                                 Attorneys, Appellate Staff
                                                 Civil Division, Room 7256
                                                 U.S. Department of Justice
                                                 950 Pennsylvania Avenue NW
                                                 Washington, DC 20530
                                                 (202) 514-7823
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           INTRODUCTION AND SUMMARY OF ARGUMENT

       Garland v. Cargill, 144 S. Ct. 1613 (2023), confirms the correctness of ATF’s

longstanding treatment of devices like the ones at issue here as machineguns.

       A machinegun is a weapon that fires “automatically more than one shot …

by a single function of the trigger.” 26 U.S.C. § 5845(b). In Cargill, the Supreme

Court explained that definition by contrasting the operation of a typical

semiautomatic rifle with that of a typical machinegun. A semiautomatic rifle with a

standard trigger assembly will fire “only one time” when the shooter “engag[es] the

trigger,” and “[t]he shooter must release and reengage the trigger to fire another

shot.” 144 S. Ct. at 1617. The need for release and reengagement results from the

operation of a component called the “disconnector,” which prevents the weapon

from firing again by retaining the weapon’s “hammer” (the component that strikes

the firing pin for each shot) until the trigger is released. Id. at 1621-22. The

disconnector stops the firing cycle, requiring a separate and distinct function of the

trigger to fire another shot. Id. at 1622.

       By contrast, “[w]ith a machinegun, a shooter can fire multiple times, or even

continuously, by engaging the trigger only once.” Cargill, 144 S. Ct. at 1617. A

machinegun firing automatically does not use a disconnector, instead using an

“auto sear.” The auto sear “catches the hammer as it swings backwards, but will

release [the hammer] again once a new cartridge is loaded if the trigger is being held

back.” Id. at 1622 n.4. Functionally, the auto sear briefly retains the hammer
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between shots to allow the weapon to safely reload, and then is automatically

tripped by the “bolt carrier” of the weapon to fire the next shot.

        The FRT-15 and WOT likewise eliminate the need for the shooter to

“release and reengage the trigger” between shots, Cargill, 144 S. Ct. at 1617, instead

allowing a shooter to engage the trigger once to fire repeatedly. These devices have

no disconnector to interrupt the firing cycle. They instead achieve continuous fire

through the “locking bar,” which serves the same purposes as an auto sear. The

locking bar momentarily delays release of the hammer until the weapon is safely

reloaded and ready to fire again, and the locking bar is automatically tripped by the

bolt carrier to enable another shot. The chief difference between the locking bar

and an auto sear is that while an auto sear retains the hammer directly, the locking

bar does so indirectly by briefly restraining movement of the trigger. In a firearm

with an FRT-15 or WOT the trigger thus moves as part of the automatic

mechanical process of retaining and releasing the hammer. But those separate

movements of the trigger are part and parcel of the devices’ automatic operation

and do not constitute separate and distinct “function[s]” of the trigger.

                                   ARGUMENT

         CARGILL CONFIRMS THAT THESE DEVICES ARE MACHINEGUNS

      A. In Cargill, the Supreme Court explained that ““a ‘trigger’ is an apparatus,

such as a ‘movable catch or lever,’ that ‘sets some force or mechanism in action,’” and


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that the term “function” means “the mode of action by which [an object] fulfils its

purpose.” 144 S. Ct. at 1620. Thus, “[t]he phrase ‘function of the trigger’ … refers to

the mode of action by which the trigger activates the firing mechanism.” Id. This

analysis examines the entire “trigger assembly” and its relationship to the “mechanics

of the firing cycle.” Id.

       The Supreme Court explained that on an unmodified semiautomatic rifle with a

standard trigger assembly, “[f]or each shot, the shooter must engage the trigger and

then release the trigger to allow it to reset.” Cargill, 144 S. Ct. at 1622; accord id. at

1617. The shooter’s engagement of the trigger begins a mechanical process that fires

a single shot. The trigger releases the hammer, which strikes the firing pin. The

explosive force of the resulting shot forces the weapon’s “bolt carrier” backwards,

and the rearward travel of the bolt carrier forces the hammer down until the hammer

is retained by the disconnector. The disconnector “will hold the hammer in that

position for as long as the shooter holds the trigger back, thus preventing the firearm

from firing another shot.” Id. at 1621-22. “[W]hen the shooter takes pressure off the

trigger and allows it to move forward … the hammer slips off the disconnector,”

positioning the gun to be fired again. Id. at 1622. This “complete process …

constitutes ‘a single function of the trigger’” on such a weapon and “[a]ny additional

shot fired after one cycle is the result of a separate and distinct ‘function of the

trigger.’” Id.

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       In applying the statutory definition to non-mechanical bump stocks, the Court

emphasized that those devices do not alter the trigger mechanism or the process

required for the firing of a shot. Cargill, 144 S. Ct. at 1622. Those devices instead

replace the stock on an ordinary semiautomatic rifle and allow the gun to slide back

and forth in the device between shots. The movement results from the combination

of the recoil of each shot and the shooter’s forward pressure on the barrel of the

weapon. While the shooter’s finger remains stationary on the device’s “ledge,” the

recoil of each shot causes the trigger to separate from the shooter’s finger as the gun

travels backwards, and the shooter’s forward pressure then slides the gun forward

again so that the trigger strikes the shooter’s finger. Id. at 1618. Such devices are not

machineguns because “[w]ith or without a bump stock, a shooter must release and

reset the trigger between every shot.” Id. at 1620; accord id. at 1622 (“[T]he shooter

must release pressure from the trigger and allow it to reset before reengaging the

trigger for another shot.”). Those devices only “accelerate the rate of fire by causing

these distinct ‘function[s]’ of the trigger to occur in rapid succession.” Id. at 1620.

       The Court contrasted such weapons with machineguns with “auto sears.” An

auto sear—a common component of many machineguns, such as M16-type

machineguns—allows a shooter to “fire multiple shots while engaging the trigger only

once,” because the auto sear “catches the hammer as it swings backwards, but will

release [the hammer] again once a new cartridge is loaded if the trigger is being held

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back.” Cargill, 144 S. Ct. at 1622 n.4. More specifically, with an auto sear, the recoil

of the first shot drives the bolt carrier backwards, and the bolt carrier depresses the

hammer, which is retained on the auto sear until a new cartridge is safely loaded. E.g.,

ROA.1129-32. By delaying release of the hammer while the weapon reloads, the auto

sear “effectively tim[es] the hammer to fall” once the weapon has reloaded,

ROA.1132, avoiding malfunctions that would result if the hammer released too early,

e.g., ROA.1098. As the bolt carrier returns forward when the weapon is safely loaded,

the auto sear is contacted by the “trip surface” of the bolt carrier, automatically

releasing the hammer from the auto sear and firing another shot. ROA.1133.

Machineguns with auto sears require a bolt carrier engineered to include this trip

surface, which serves no purpose on a weapon with a standard semiautomatic trigger

assembly. ROA.1030, 1091.

      B. Cargill underscores the correctness of ATF’s longstanding treatment of

devices like the ones at issue here as machineguns. As the Court explained, the

dispositive consideration is “how many shots discharge when the shooter engages the

trigger.” Cargill, 144 S. Ct. at 1623. This understanding—and the Court’s explication

of the terms “trigger” and “function”—mirrors the longstanding view of this Court

and others that a trigger fundamentally serves “to initiate the firing sequence” of a

weapon. United States v. Jokel, 969 F.2d 132, 135 (5th Cir. 1992) (per curiam).




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       Unlike non-mechanical bump stocks, these devices entirely replace a firearm’s

trigger assembly. Most significantly, these devices lack a disconnector—the

component of a standard semiautomatic rifle trigger that “hold[s] the hammer” and

prevents the firing of further shots until “the shooter takes pressure off the trigger

and allows it to move forward.” Cargill, 144 S. Ct. at 1622. As a result, these devices

do not require the shooter to “release and reengage” the trigger or “take[] pressure

off” the trigger for each shot. Id. at 1617, 1622. Instead, as plaintiffs’ expert

explained, the weapon will continue to fire “even if the shooter does not lessen his

rearward pressure on the trigger.” ROA.2172-73. ATF testing confirmed the same

by applying a metal cable tie to the trigger to apply continuous pressure and observing

that the weapon fired repeatedly. E.g., ROA.946.

       As discussed in our brief, see Opening Br. 6-7, the shooter’s initial engagement

of the trigger causes a shot to be fired and the weapon’s bolt carrier to travel

backwards. As on an unmodified semiautomatic rifle, the rearward travel of the bolt

carrier presses the hammer down. But rather than having the hammer be retained by

the disconnector, the hammer is forced directly onto the trigger sear surface.

ROA.1097-98. The pressure from the hammer pushes down on the trigger to force

the trigger forward, where the trigger is held in place by the locking bar. Id. The

locking bar restrains the movement of the trigger, thereby briefly holding the hammer

in place while the bolt carrier is still traveling. This brief delay is critical to the

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operation of the weapon: releasing the hammer too early could result in a

malfunction. Id. As the bolt carrier returns forward, it strikes the locking bar, thus

automatically releasing the trigger (and the hammer) and firing another shot.

ROA.1098-99. That firing cycle will continue as long as the shooter’s engagement of

the trigger continues.

      The devices at issue here are thus practically and legally indistinguishable from

a machinegun equipped with an auto sear. Recall that an auto sear fulfills two

purposes that enable automatic fire: it retains the hammer and also times the

hammer’s subsequent release for when a new cartridge is loaded and ready to fire by

interacting with the trip surface of the bolt carrier. The locking bar on these devices

serves the same two purposes by timing the release of the hammer until the locking

bar interacts with the trip surface of the bolt carrier “in the same manner that the [trip

surface] interacts with an automatic sear.” ROA.1091. Indeed, for these devices to

work on an AR15-type rifle, the shooter must use a weapon equipped with the bolt

carrier for an M16-type machinegun that includes this trip surface. E.g., ROA.1030,

1091, 1102, 1128. The difference between the locking bar and the auto sear is that the

auto sear directly physically retains the hammer (on the auto sear’s “shelf,”

ROA.1132), while the locking bar retains the hammer indirectly by momentarily

restraining the trigger while the hammer rests on the trigger sear surface. But that

difference does not change the status of the devices: with both types of firing

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mechanism, the hammer is automatically and repeatedly released by a single

engagement—“single function”—of the trigger. And that conclusion is further

reinforced by Cargill’s discussion of the statutory definition as a whole. As the Court

observed, “Congress defined a machinegun by what happens ‘automatically’ ‘by a

single function of the trigger,’” and “[s]imply pressing and holding the trigger down

on a fully automatic rifle … is what causes the trigger to function in the first place.”

Cargill, 144 S. Ct. at 1625.

       As this illustrates, these devices are machineguns because the shooter engages

the trigger just once to initiate the firing sequence, and that single engagement begins

an automatic cycle of fire that is the product of “a single function of the trigger.”

       C. Plaintiffs have contended that these devices are not machineguns because

each movement of the trigger constitutes a separate function, arguing that the trigger

must “separately function to release the hammer by moving far enough to the rear in

order to fire the next round.” Br. 19. The district court employed similar reasoning.

E.g., ROA.1313, 1315. But Cargill did not embrace that rule. The Court instead

repeatedly emphasized that with a semiautomatic weapon a shooter “must release and

reengage the trigger to fire another shot,” while with a machinegun “a shooter can fire

multiple times, or even continuously, by engaging the trigger only once.” 144 S. Ct. at

1617; id. at 1618, 1620, 1622.




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       That distinction is important. Cargill does not undermine the status of weapons

where the trigger moves automatically for each shot. For example, in United States v.

Carter, the Sixth Circuit considered a firearm the lacked a standard trigger and would

fire repeatedly if a shooter manually pulled back and released the bolt once. Once the

bolt was released it “would go forward [stripping] a cartridge off out of the magazine

into the chamber and it would fire” and the bolt would then “retract” and fire again

with no further engagement by the shooter. 465 F.3d 658, 665 (6th Cir. 2006) (per

curiam). The bolt is the “trigger” on such a weapon because it initiates firing, but the

repeated automatic movements of that trigger—even though necessary to fire the

weapon and “reset” the trigger between shots—do not change its status as a

machinegun. The same principle is illustrated by our hypothetical example (Opening

Br. 31-32) of a box with a button trigger that moves up and down with each shot after

the shooter’s initial press. Even though operation of the device requires trigger

movement for each shot fired, the weapon would still be a machinegun because it

fires repeatedly after the trigger is engaged once.

       The same reasoning applies here. As noted, there is no point at which the

trigger is disengaged (or “released”) to be re-engaged for another shot. Instead, after

the initial engagement of the trigger, the weapon fires repeatedly as a result of the

automatic operation of the device. The subsequent movements of the trigger are not




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the result of separate and distinct “engagements” or “functions,” but are rather the

result of an automatic mechanical process after the shooter engages the trigger once.

      Plaintiffs may seek to rely on Cargill’s language that “[o]n weapons with these

standard trigger mechanisms, the phrase ‘function of the trigger’ means the physical

trigger movement required to shoot the firearm.” 144 S. Ct. at 1620. That language

concerns only standard trigger assemblies for semiautomatic weapons—not

replacement trigger assemblies like the ones at issue here. And Cargill described that

“physical trigger movement” as encompassing not only the initial engagement of the

trigger but also the subsequent disengagement of the trigger by “tak[ing] pressure off”

the trigger, which was necessary to the “complete process” of “a ‘single function of

the trigger.’” Id. at 1622. Here, by contrast, the mechanical process is not

meaningfully different from an auto sear: the shooter engages the trigger once and the

components of the device enable repeated fire, with the locking bar taking on the role

of an auto sear.




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                                 CONCLUSION

      The judgment of the district court should be reversed.

                                              Respectfully submitted,

                                              BRIAN M. BOYNTON
                                                Acting Assistant Attorney General
                                              LEIGHA SIMONTON
                                                United States Attorney
                                              MARK B. STERN

                                               s/ Brad Hinshelwood
                                              BRAD HINSHELWOOD
                                                 Attorneys, Appellate Staff
                                                 Civil Division, Room 7256
                                                 U.S. Department of Justice
                                                 950 Pennsylvania Avenue NW
                                                 Washington, DC 20530
                                                 (202) 514-7823
                                                 bradley.a.hinshelwood@usdoj.gov



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                      CERTIFICATE OF COMPLIANCE

      This brief complies with the Court’s order of July 2, 2024, limiting

supplemental briefs to 2,500 words, because it contains 2,500 words. This brief also

complies with the typeface and type-style requirements of Federal Rule of Appellate

Procedure 32(a)(5)-(6) because it was prepared using Microsoft Word 2016 in

Garamond 14-point font, a proportionally spaced typeface.



                                               s/ Brad Hinshelwood
                                              Brad Hinshelwood
